
In re: Bert C. LeBlanc applying for writs of certiorari, prohibition, mandamus and for a stay order.
Writ denied. Adequate remedy by review in the event of conviction.
BARHAM, J., dissents.
The prayer for oral inculpatory statements should have been granted. There is no valid reason for differentiating between written and oral confessions. This court has already extended Code of Criminal Procedure Article 703 to statements other than written as there provided. Extending that article to oral inculpatory and exculpatory statements would do no violence to the statutory scheme.
Moreover, the trial court should have granted the motion for access to any electronic surveillance evidence in order that it might be determined whether such evidence was obtained unconstitutionally in violation of Fourth Amendment rights. See Katz v. United States, 389 U.S. 347, 88 S.Ct. 507, 19 L.Ed.2d 576 (1967); Alderman v. United States, 394 U.S. 165, 89 S.Ct. 961, 22 L.Ed.2d 176 (1969). See also Gelbard v. United States, 408 U.S. 41, 92 S.Ct. 2357, 33 L.Ed.2d 179 (1972).
